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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

JACKSONVILLE DIVISION
ANNA SIMMONS, 3 -
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Plaintiff, rn. .
v. 4: 1) a
CASE NO:: 2305
AMSHER COLLECTION SERVICES, INC., BAF) -OVD ROC: 2 3
Defendant. "Te
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COMPLAINT

I.

Unwanted “Robocalls” are the #1 consumer complaint in America today.
2.

The people complaining about harassing robocalls is increasing at an alarming rate.

In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal

Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was
4,501,967.'

3. Amsher Collection Services, Inc. robocalled the Plaintiff a 100 times.
4, Amsher Collection Services, Inc. has a corporate policy to robocall people
thousands of times.
5.

“Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’
137 Cong. Rec. 30, 821 (1991).

Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

 

' It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
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Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26
years ago, robocall abuse continues to skyrocket.

6. Plaintiff, Anna Simmons, alleges Defendant, Amsher Collection Services, Inc.,
robocalled her more than 100 times in stark violation of the Telephone Consumer Protection Act,
47 U.S.C. § 227 et seg. (“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et.
seg. (“FDCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 ef seg.
(“FCCPA”), and Invasion of Privacy (“IOP”).

7. Robocalls are very inexpensive to make. As was noted in a Senate hearing on the
subject: “With such a cheap and scalable business model, bad actors can blast literally tens of
millions of illegal robocalls over the course of a single day at less than | cent per minute.” Stopping
Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer
Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117
(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of
Consumer Protection, Federal Trade Commission).

8. The TCPA was enacted to prevent companies like Amsher Collection Services, Inc.
from invading American citizens’ privacy and prevent illegal robocalls.

9. Congress enacted the TCPA to prevent real harm. Congress found that "automated
or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and
decided that "banning" such calls made without consent was "the only effective means of
protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,
§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Minis v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).
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10. According to findings by the FCC—the agency Congress vested with authority to
issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,
automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live
solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.
JURISDICTION AND VENUE
Il. Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.
12. Violations described in the Complaint occurred while Plaintiff was in Jacksonville,
Florida.

FACTUAL ALLEGATIONS

13. Plaintiff is a natural person and citizen of the State of Florida, residing in
Jacksonville, Florida.

14. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §
1692(a)(3).

15. Plaintiff is an “alleged debtor.”

16. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

17. Defendant is a corporation with its principal place of business in Hoover, Alabama
and conducts business in the State of Florida.

18. Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

_ ULS.C. § 1692(a)(6).
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19. The debt that is the subject matter of this complaint is a “consumer debt” as defined
by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

20. Plaintiff is the regular user and carrier of the cellular telephone number at issue,
(904) 330--8885.

21. Plaintiff was the “called party” during each phone call subject to this lawsuit.

22. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably be expected to harass.

23. Defendant did not have the “express consent” of the Defendant to call her cell
phone.

24. “Express consent” is narrowly construed by the Courts.

25. ‘It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

26. It is the Defendant’s burden to prove they had “express consent” per the TCPA to
call the Plaintiff on her cell phone using an ATDS for each account they were calling on.

27. Defendant was put on notice Plaintiff did not want the Defendant contacting her.

28. In or about January of 2017, Plaintiff started receiving calls from the Defendant
asking for someone else and Plaintiff remembers that it was a man’s name but does not remember
the exact name. At that time, on the first call, Plaintiff told Defendant she was not the person they
were calling and asked them not to call her again.

29. Defendant did not have the express consent of the Plaintiff to call her on the account

they called her on.
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30.

Plaintiff expressly revoked any express consent Defendant may have mistakenly

believed it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone

number by the use of an ATDS or a pre-recorded or artificial voice.

31.

Defendant attempted to collect a debt for someone else by this campaign of

telephone calls to the Plaintiff.

32. Defendant made at least one call to (904) 330-8885.

33. Defendant made at least one call to (904) 330-8885 using an ATDS.

34. Defendant made at least twenty-five (25) calls to (904) 330-8885.

35. Defendant made at least twenty-five (25) calls to (904) 330-8885 using an ATDS.

36. Defendant made at least seventy-five (75) calls to (904) 330-8885.

37. Defendant made at least seventy-five (75) calls to (904) 330-8885 using an ATDS.

38. Defendant made at least one hundred (100) calls to (904) 330-8885.

39. Defendant made at least one hundred (100) calls to (904) 330-8885 using an ATDS.

40. Each call the Defendant made to (904) 330-8885 in the last four years was made
using an ATDS.

41. | Each call the Defendant made to the Plaintiff's cell phone was done so without the

“express permission” of the Plaintiff.

42.

43.

Defendant has called other people’s cell phones without their express consent.

Each call the Defendant made to the Plaintiff was made using an ATDS, which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).
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44. The calls at issue were placed by the Defendant using a “prerecorded voice,” as
specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

45. Plaintiff repeatedly requested the Defendant to stop calling her cell phone,
however, the Defendant continued to make calls.

46. Defendant has admitted to calling cell phones using an ATDS after that person
asked for the calls to stop.

47. Plaintiff's conversations with the Defendant putting them on notice that they did
not want more phone calls were ignored.

48. Defendant has recorded at least one conversation with the Plaintiff.

49. Defendant has made approximately one hundred (100) calls to Plaintiff's
aforementioned cellular telephone number since in or about January of 2017 which will be
established exactly once Defendant turns over their dialer records.

50. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of abusive robocalls.

51. Defendant has been sued in federal court where the allegations include: calling an
individual using an ATDS after the individual asked for the calls to stop.

52. By effectuating these unlawful phone calls, Defendants have caused Plaintiff the
very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy.”

53.  Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff's rights and interests in her cellular telephone and cellular telephone line, by
intruding upon Plaintiff's seclusion.

54.  Defendant’s phone calls harmed Plaintiff by wasting her time.
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55. | Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used.” In re: Rules Implementing the TCPA
of 1991, 23 FCC Red 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

56. | Defendant’s corporate policy and procedures are structured as to continue to call
individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may
have mistakenly believed it had.

57.  Defendant’s corporate policy and procedures provided no means for the Plaintiff to
have her aforementioned cellular number removed from the call list.

58. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial
voice message to collect debts from individuals such as Plaintiff for its financial benefit.

59. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this complaint. The Defendant has been sued civilly in Federal Court
40 times since 2014 (According to pacer.gov in March 2018).

60. In the last 3 years, the Defendant has had 116 complaints reported to the Better
Business Bureau (BBB), of which 105 of those complaints are classified as being related to
“Billing/Collection Issues.” (According to bbb.org in March 2018).

61. Since January 2015, Defendant has had 36 complaints classified under
“communications tactics” filed against it with the Consumer Financial Protection Bureau.
(According to cfpb.gov in March of 2018).

62. Plaintiff expressly revoked any consent Defendant may have mistakenly

__ believed it had for placement of telephone calls to Plaintiff's aforementioned cellular telephone by

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the use of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement
of the calls. Making money while breaking the law is considered an incentive to continue violating
the TCPA and other state and federal statutes.

63. Defendant never had the Plaintiff's expressed consent for placement of telephone
calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial
voice.

64. None of Defendant’s telephone calls placed to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. §227(b)(1)(A).

65. Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

66. Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

COUNT I
(Violation of the TCPA)

67. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

68. Defendant willfully violated the TCPA with respect to the Plaintiff each time they
called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-
recorded voice.

69. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for
each of the auto-dialed calls made to Plaintiff's cellular telephone after Plaintiff revoked her
consent by telling the Defendand she was not the person to whom they were calling and then to be
continually called by them using an ATDS or pre-recorded voice.

70. Defendant, Amsher Collection Services, Inc., repeatedly placed non-emergency
telephone calls to the wireless telephone number of Plaintiff using an automatic telephone dialing
system or prerecorded or artificial voice without Plaintiff's prior express consent in violation of

federal law, including 47 U.S.C § 227(b)(1)(A)(iii).
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71. As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,
under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such
violation of the TCPA.

72. Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,
Amsher Collection Services, Inc., from violating the TCPA in the future.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any
other such relief the court may deem just and proper.

COUNT I
(Violation of the FDCPA)

73. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

74.  Atall times relevant to this action, Defendant is subject to and must abide by 15
U.S.C. § 1692 ef seq.

75. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by
willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.

76. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)
by causing a telephone to ring or engaging any person in telephone conversation repeatedly or
continuously with intent to annoy, abuse, or harass any person at the called number.

77. Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by
using unfair and unconscionable means to collect or attempt to collect any debt.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.
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COUNT Ill
(Violation of the FCCPA)

78. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

79. At all times relevant to this action Defendant is subject to and must abide by the
law of Florida, including Florida Statute § 559.72.

80. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected
to harass the debtor or her family.

81. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her
family.

82. Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt
by calling Plaintiff and asking for someone else when Defendant knows that the debt is not
legitimate or assert the existence of some legal right when Defendant knows that right does not
exist.

83. | Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

deem just and proper.

COUNT IV
(Invasion of Privacy — Intrusion Upon Seclusion)

84. Plaintiff incorporates Paragraphs one (1) through sixty-six (66).

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85. | Defendant through its collection conduct, has repeatedly and intentionally invaded
Plaintiff's privacy.

86. All of the calls made to Plaintiff's cell phone by Defendant and its agents using an
automatic telephone dialing system were made in violation of the TCPA, and were unreasonable
and highly offensive invasions of Plaintiff's right to privacy.

87. | Defendant’s persistent autodialed calls to her cellular phone eliminated Plaintiff's
right to be left alone.

88.  Defendant’s autodialed collection calls disrupted Plaintiff's privacy, disrupted
Plaintiff's sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her work, and
continually frustrated and annoyed Plaintiff.

89. These persistent autodialed collection calls eliminated the peace and solitude that
the Plaintiff would have otherwise had in Plaintiff's home and anywhere else Plaintiff went with
her cellular phone.

90. By calling her cellular phone, Plaintiff had no escape from these collection calls
when she left the home.

91. By persistently autodialing Plaintiff's cellular phone without prior express consent,
Defendant invaded Plaintiff's right to privacy, as legally protected by the TCPA, and caused
Plaintiff to suffer concrete and particularized harm.

92.  Defendant’s harassing collection conduct and tactic of repeatedly auto dialing
Plaintiff to both her cellular and home telephone after requests to stop is highly offensive to a
reasonable person.

93. Defendant intentionally intruded upon Plaintiff's solitude and seclusion.

94.  Asaresult of Defendant’s action or inaction, Plaintiff has been damaged.

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

Respectfully submitted,

/s/ Amanda J. Allen, Esg.

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